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Jessie Steffan

From:                 Jessie Steffan
Sent:                 Monday, July 16, 2018 1:33 PM
To:                   Wheaton, Andrew
Subject:              Molina - Pltf docs, RFPs attached, videos mailed
Attachments:          2018-07-13 COS RFP to City.pdf; 2018-07-13 RFP.pdf; Molina - Bates Pl-001-285.pdf


(Andrew – Please see below. I drafted the following email on Friday, but for some reason it got stuck in my outbox. I
mailed the RFPs and COS on Friday, so they’re dated 7/13, but of course the discovery response period won’t begin
running until today (7/16) when I actually successfully send this email. I’m sorry for the confusion!

PS – I have that Officer Wethington was served 6/7 (ECF 46), which I believe made his answer due 6/28. Do you
plan to enter your appearance on his behalf? If so, we consent to the filing of that answer out of time.)


Dear Andrew,

I hope you’re well.

I’ve attached documents Bates 001-285, which were disclosed in Plaintiffs’ R26 disclosures, as well as Plaintiffs’
First RFPs directed to the City and a certificate of service thereof. Today, I also mailed copies of the RFPs and COS
as well as thumb drives that contain the videos disclosed as part of initial disclosures. As we discussed, please
download the videos and then use the thumb drive (or another empty drive) to send the media referenced in the
City’s initial disclosures.

As you may be aware, service of process on the individual defendants has taken a lot more time than expected (at
least, than I expected!). Many of the individual officers did not consent to the City accepting service on their behalf,
so we’ve had to track down each officer individually. I’ve been checking in with the process server every few days.
Two defendants remain. My understanding is that one is still employed with the Department and one is not. In light
of the service issues, I am hoping you will consent to a motion to extend the discovery deadline. It is currently set for
October and we would hope to extend it until December. That would necessitate moving the dispositive motion
deadline, hopefully to run concurrent with the end of discovery, leaving the trial date unchanged. What are your
thoughts?

Relatedly, we have received the referral to ADR and designation of neutral is due soon. Do you believe that it would
be beneficial to move the ADR referral period in light of the service issues? Either way, would you like us to provide
some suggestions for a mediator or do you have some folks in mind?

Thank you,
Jessie


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                                    Ex 3 - Pls.' MIO to Mtn to Strike
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                    Ex 3 - Pls.' MIO to Mtn to Strike             Pl-000117
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                    Ex 3 - Pls.' MIO to Mtn to Strike             Pl-000118
